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                 UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF FLORIDA
                   FORT LAUDERDALE DIVISION

                       Case No. 23-61188-civ-SMITH

 STATE OF FLORIDA,
     Plaintiff,

 v.

 MIGUEL CARDONA, in his official
 capacity as Secretary of Education, et al.,
      Defendants.


                       NOTICE OF APPEARANCE

       Notice is hereby given that Edward M. Wenger, an attorney

 admitted to the bar of this Court, hereby enters his appearance on

 behalf of the National Horsemen’s Benevolent and Protective

 Association and the Center for American Rights, Amici Curiae in the

 above-captioned case.
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 /s/ Edward M. Wenger ________
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                      CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on this 12th day of October, 2023, a

 true copy of the foregoing was filed electronically with the Clerk of

 Court using the Court’s CM/ECF system, which will which will serve it

 on all counsel of record.



                                          /s/ Edward M. Wenger ________
                                          Edward M. Wenger
